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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

         v.

 Hamid Akhavan,                                                              S3 20 Cr. 188 (JSR)
      a/k/a “Ray Akhavan,”
                                                                                        ORDER
 -and-

 Ruben Weigand,

                   Defendants.




JED S. RAKOFF, United States District Judge:

       WHEREAS, on October 20, 2020, the Court held a telephonic conference in the above-
captioned matter, during which the parties proposed an agreed-upon pretrial schedule;

         IT IS HEREBY ORDERED that the following schedule shall apply:

11/3/2020:        Government and defendants serve respective expert notice;
                  Government serves witness and exhibit lists, and 3500 materials;
11/10/2020:       Government serves Rule 404(b) notice; Government and defendants
                  simultaneously file motions in limine; defendants serve respective witness and
                  exhibit lists, and 3500 materials;
11/17/2020:       Government and defendants serve any supplemental expert notice;
11/20/2020:       Government and defendants file proposed requests to charge and voir dire;
11/24/2020:       Government and defendants simultaneously file responses to motions in limine;
                  defendants serve any opposition to Rule 404(b) notice.

       The Court will further schedule a final pretrial conference on either 11/25/2020 or
11/27/2020.

SO ORDERED.

Dated: October 21, 2020
       New York, NY

                                                      JED S. RAKOFF
                                                      United States District Judge



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